Case 2:05-cr-20180-SH|\/| Document 11 Filed 06/15/05 Page 1 of 2 Page|D 12

 

F"'!L\;;t`,`! ll i` . ¢.
1N THE UNrrED s'rATEs DIsTRrCT CoURT
FoR THE WEsTERN DIsTRrCr oF TENNESSE§§ pitt 1 5 Ptt 3= h t
WESTERN DIVISION

. 1: tdi ‘§",`~`{Gi.l@
l"‘.'».'~---i~i l " “‘ .n+- r\'¥'

UNITED STATES OF AMERICA 1

 

 

V.
CHRISTOPHER WILLIS 05cr20180-D
aka ]OHN COBB
ORDER ON ARRAIGNMENT
This cause came to be heard on / 5 the United States Attorney
for this district appeared on behalf of the vernment, and the defendant appeared in person and with
counsel:

NAME />, &H,/% Who is Retained!Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.
All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause

shown to a District Judge, such period is extended

/The defendant, (not having e bond) (being a sta risoner) (being a federal
prisoner) (being held Without bon pursuant to BRA of 19 4), is remanded to the custody

of the U.S. Marshal. : 2

UNITED STA!l`ES MAGISTRATE ]UDGE

The defendant, Who is not ir§l:;$iy, may stand on his pres mt bond.

CHARGES - 18:922g
firearms

Attorney assigned to Case: S. Hall

Age: § /

='i~i:`s document entered on the docket "‘heet m from iiaoee
ff ll

-N;tta Flu|e 55 and/or 32(b) FHCrP on ______“L[Q;@_\__}____ \://

 

Notice of Distribution

This notice confirms a copy of` the document docketed as number ll in
case 2:05-CR-20180 Was distributed by f`aX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

FPD

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

